B6 Summary (Official Form 6 - Summary) (12/14)

                                                             United States Bankruptcy Court
                                                             Middle District of Pennsylvania

IN RE:                                                                                                                Case No.
Giacchi, Louis John & Giacchi, Janice Ellen                                                                           Chapter 7
                                                     Debtor(s)

                                                              SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
a case under chapter 7, 11, or 13.

                                                            ATTACHED             NO. OF
 NAME OF SCHEDULE
                                                             (YES/NO)            SHEETS                 ASSETS                 LIABILITIES                OTHER


 A - Real Property                                               Yes                          1 $         116,413.00


 B - Personal Property                                           Yes                          4 $         171,136.65


 C - Property Claimed as Exempt                                  Yes                          2


 D - Creditors Holding Secured Claims                            Yes                          1                            $       177,252.00


 E - Creditors Holding Unsecured Priority
                                                                 Yes                          1                            $                0.00
     Claims (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured
                                                                 Yes                          8                            $       195,548.82
     Nonpriority Claims

 G - Executory Contracts and Unexpired
                                                                 Yes                          1
     Leases


 H - Codebtors                                                   Yes                          1


 I - Current Income of Individual
                                                                 Yes                          4                                                     $           2,060.61
     Debtor(s)

 J - Current Expenditures of Individual
                                                                 Yes                          4                                                     $           2,725.68
     Debtor(s)


                                                                 TOTAL                      27 $          287,549.65 $             372,800.82




         Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                                         Desc
                              Schedules and Statements Page 1 of 42
B 6 Summary (Official Form 6 - Summary) (12/14)

                                                    United States Bankruptcy Court
                                                    Middle District of Pennsylvania

IN RE:                                                                                       Case No.
Giacchi, Louis John & Giacchi, Janice Ellen                                                  Chapter 7
                                             Debtor(s)

        STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

           Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report
any information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                                                        Amount

 Domestic Support Obligations (from Schedule E)                                                    $           0.00

 Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $           0.00

 Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
 disputed or undisputed)                                                                           $           0.00

 Student Loan Obligations (from Schedule F)                                                        $     82,893.00

 Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
 Schedule E                                                                                        $           0.00

 Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $           0.00

                                                                                        TOTAL      $     82,893.00


 State the following:

 Average Income (from Schedule I, Line 12)                                                         $      2,060.61

 Average Expenses (from Schedule J, Line 22)                                                       $      2,725.68

 Current Monthly Income (from Form 22A-1 Line 11; OR, Form 22B Line 14; OR, Form 22C-1
 Line 14 )                                                                                         $      3,532.63


 State the following:

 1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                         $     60,839.00

 2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $           0.00

 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                           $          0.00

 4. Total from Schedule F                                                                                             $    195,548.82

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         $    256,387.82




        Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                           Desc
                             Schedules and Statements Page 2 of 42
B6A (Official Form 6A) (12/07)

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                                       Case No.
                                                           Debtor(s)                                                                                 (If known)

                                                           SCHEDULE A - REAL PROPERTY
   Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

  Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

   If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

  If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.



                                                                                                                               CURRENT VALUE OF
                                                                                                                              DEBTOR'S INTEREST IN
                                                                                              NATURE OF DEBTOR'S               PROPERTY WITHOUT         AMOUNT OF SECURED
                        DESCRIPTION AND LOCATION OF PROPERTY
                                                                                             INTEREST IN PROPERTY                DEDUCTING ANY               CLAIM
                                                                                                                               SECURED CLAIM OR
                                                                                                                                   EXEMPTION



Residential Dwelling Located at                                                                                          J            116,413.00               177,252.00
502 Scenic Drive
Albrightsville, PA 18210

Value Based Upon Zillow Estimate




                                                                                                                 TOTAL                116,413.00
                                                                                                                             (Report also on Summary of Schedules)



         Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                                            Desc
                              Schedules and Statements Page 3 of 42
B6B (Official Form 6B) (12/07)

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                                      Case No.
                                                           Debtor(s)                                                                                 (If known)

                                                      SCHEDULE B - PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
“C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
in Schedule C - Property Claimed as Exempt.

  Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

  If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



                                                                                                                                                        CURRENT VALUE OF
                                                  N                                                                                                    DEBTOR'S INTEREST IN
                                                  O                                                                                                     PROPERTY WITHOUT
               TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                  N                                                                                                       DEDUCTING ANY
                                                  E                                                                                                     SECURED CLAIM OR
                                                                                                                                                            EXEMPTION




   1. Cash on hand.                                   Cash On Hand                                                                               J                     5.00
   2. Checking, savings or other financial            Checking & Savings Account with Wayne Bank                                                 J                  120.00
      accounts, certificates of deposit or            Checking & Savings Account with Wells Fargo                                                J                1,450.00
      shares in banks, savings and loan,
      thrift, building and loan, and                  Savings Account with Breater Alliance Credit Union                                         J                  420.00
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.
   3. Security deposits with public utilities,        Security Deposit with Future Landlord, Peak Mangement                                      J                  300.00
      telephone companies, landlords, and
      others.
   4. Household goods and furnishings,                Bedroom Lamps                                                                              J                   60.00
      include audio, video, and computer              Bedroom Television                                                                         J                   25.00
      equipment.
                                                      Beds (x2)                                                                                  J                  130.00
                                                      Cedar Chest                                                                                J                   20.00
                                                      China Cabinet                                                                              J                  130.00
                                                      Coffee Maker                                                                               J                   40.00
                                                      Coffee Tables                                                                              J                   30.00
                                                      Dining Room Table & Chairs                                                                 J                   80.00
                                                      Dishes, Glassware & Utensils                                                               J                   47.00
                                                      Dressers (x6)                                                                              J                  150.00
                                                      End Tables                                                                                 J                   25.00
                                                      Grill                                                                                      J                   10.00
                                                      Living Room Lamps                                                                          J                   30.00
                                                      Living Room Television                                                                     J                   25.00
                                                      Love Seat                                                                                  J                   80.00
                                                      Microwave                                                                                  J                   25.00
                                                      Mirrors                                                                                    J                   20.00
                                                      Night Stands (x3)                                                                          J                   40.00
                                                      Recliner                                                                                   J                   75.00
                                                      Refirgerator                                                                               J                  300.00
                                                      Small Kitchen Appliances                                                                   J                  150.00
                                                      Stove                                                                                      J                  300.00
                                                      Weed Whacker                                                                               J                   40.00




         Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                                           Desc
                              Schedules and Statements Page 4 of 42
B6B (Official Form 6B) (12/07) - Cont.

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                          Case No.
                                                      Debtor(s)                                                           (If known)

                                                   SCHEDULE B - PERSONAL PROPERTY
                                                          (Continuation Sheet)


                                                                                                                             CURRENT VALUE OF
                                               N                                                                            DEBTOR'S INTEREST IN
                                               O                                                                             PROPERTY WITHOUT
              TYPE OF PROPERTY                                      DESCRIPTION AND LOCATION OF PROPERTY
                                               N                                                                               DEDUCTING ANY
                                               E                                                                             SECURED CLAIM OR
                                                                                                                                 EXEMPTION




  5. Books, pictures and other art objects,        CDs                                                                J                   90.00
     antiques, stamp, coin, record, tape,          DVDs                                                               J                   75.00
     compact disc, and other collections or
     collectibles.
  6. Wearing apparel.                              Pants, Shirts, Shoes, Jackets, and Other Wearing Apparel           J                  300.00
  7. Furs and jewelry.                             Bracelets                                                          J                   25.00
                                                   Earrings                                                           J                   20.00
                                                   Engagement Ring                                                    J                 2,000.00
                                                   Small Costume Jewelry                                              J                  150.00
                                                   Watches                                                            J                   20.00
                                                   Wedding Rings                                                      J                  450.00
  8. Firearms and sports, photographic,        X
     and other hobby equipment.
  9. Interest in insurance policies. Name          Life Insurance Policy Through Prudential Life Insurance Co. of     H                 3,426.78
     insurance company of each policy and          America - Cash Surrender Value Listed
     itemize surrender or refund value of
                                                   Life Insurance Through AAA - No Cash Surrender Value               J                     0.00
     each.
                                                   Life Insurance Through Prudential Insurance Co. of America -       W                23,240.91
                                                   Cash Surrender Value Listed
                                                   Life Insurance Through Prudential Insurance Co. of America -       H                12,375.78
                                                   Cash Surrender Value Listed
 10. Annuities. Itemize and name each          X
     issue.
 11. Interests in an education IRA as          X
     defined in 26 U.S.C. § 530(b)(1) or
     under a qualified State tuition plan as
     defined in 26 U.S.C. § 529(b)(1).
     Give particulars. (File separately the
     record(s) of any such interest(s). 11
     U.S.C. § 521(c).)
 12. Interests in IRA, ERISA, Keogh, or            401(k) Through Coordinated Health                                  W                     7.67
     other pension or profit sharing plans.        IRA Through Nationwide (Debtors Borrowed Against this              W                12,489.19
     Give particulars.
                                                   Account To Pay For Moving Costs and Security Deposit for
                                                   Their Future Rental
                                                   Pension Through Shoprite                                           H            100,000.00
                                                   Traditional IRA Through Wells Fargo                                W                 6,963.02
 13. Stock and interests in incorporated           10 Shares in Deluxe Corp (DLX) - Value as of closing price on      H                  575.00
     and unincorporated businesses.                September 18, 2015
     Itemize.
                                                   10 Shares in Prudential Financial Inc. (PRU) - Value as of         J                  758.30
                                                   closing price on September 18, 2015
                                                   18 Shares in Deluxe Corp (DLX) - Value as of closing price on      J                 1,035.00
                                                   July 29, 2015 (Jointly Owned with Nicole Marie Giacchi)
 14. Interests in partnerships or joint        X
     ventures. Itemize.
 15. Government and corporate bonds and        X
     other negotiable and non-negotiable
     instruments.




        Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                 Desc
                             Schedules and Statements Page 5 of 42
B6B (Official Form 6B) (12/07) - Cont.

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                          Case No.
                                                       Debtor(s)                                                          (If known)

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                           (Continuation Sheet)


                                                                                                                             CURRENT VALUE OF
                                                N                                                                           DEBTOR'S INTEREST IN
                                                O                                                                            PROPERTY WITHOUT
              TYPE OF PROPERTY                                      DESCRIPTION AND LOCATION OF PROPERTY
                                                N                                                                              DEDUCTING ANY
                                                E                                                                            SECURED CLAIM OR
                                                                                                                                 EXEMPTION




 16. Accounts receivable.                       X
 17. Alimony, maintenance, support, and         X
     property settlements in which the
     debtor is or may be entitled. Give
     particulars.
 18. Other liquidated debts owed to debtor      X
     including tax refunds. Give
     particulars.
 19. Equitable or future interest, life         X
     estates, and rights or powers
     exercisable for the benefit of the
     debtor other than those listed in
     Schedule A - Real Property.
 20. Contingent and noncontingent               X
     interests in estate of a decedent, death
     benefit plan, life insurance policy, or
     trust.
 21. Other contingent and unliquidated          X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.
 22. Patents, copyrights, and other             X
     intellectual property. Give particulars.
 23. Licenses, franchises, and other            X
     general intangibles. Give particulars.
 24. Customer lists or other compilations       X
     containing personally identifiable
     information (as defined in 11 U.S.C. §
     101(41A)) provided to the debtor by
     individuals in connection with
     obtaining a product or service from
     the debtor primarily for personal,
     family, or household purposes.
 25. Automobiles, trucks, trailers, and             2006 Chrysler Town & Country - KBB Value Listed                   J                1,758.00
     other vehicles and accessories.
 26. Boats, motors, and accessories.            X
 27. Aircraft and accessories.                  X
 28. Office equipment, furnishings, and         X
     supplies.
 29. Machinery, fixtures, equipment, and        X
     supplies used in business.
 30. Inventory.                                 X
 31. Animals.                                   X
 32. Crops - growing or harvested. Give         X
     particulars.
 33. Farming equipment and implements.          X
 34. Farm supplies, chemicals, and feed.        X




        Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                 Desc
                             Schedules and Statements Page 6 of 42
B6B (Official Form 6B) (12/07) - Cont.

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                      Case No.
                                                  Debtor(s)                                                                     (If known)

                                               SCHEDULE B - PERSONAL PROPERTY
                                                      (Continuation Sheet)


                                                                                                                                   CURRENT VALUE OF
                                           N                                                                                      DEBTOR'S INTEREST IN
                                           O                                                                                       PROPERTY WITHOUT
             TYPE OF PROPERTY                                   DESCRIPTION AND LOCATION OF PROPERTY
                                           N                                                                                         DEDUCTING ANY
                                           E                                                                                       SECURED CLAIM OR
                                                                                                                                       EXEMPTION




 35. Other personal property of any kind       1/4 Interest in Lifestyle Holiday Vacation Club (Total Asset Value           J                1,250.00
     not already listed. Itemize.              Estimated At $5,000)




                                                                                                                      TOTAL              171,136.65
                                                                                                 (Include amounts from any continuation sheets attached.
         0 continuation sheets attached                                                                     Report total also on Summary of Schedules.)


        Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                       Desc
                             Schedules and Statements Page 7 of 42
B6C (Official Form 6C) (04/13)

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                                Case No.
                                                          Debtor(s)                                                                          (If known)

                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $155,675. *
(Check one box)
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)

                                                                                                                                                 CURRENT VALUE
                                                                                                                       VALUE OF CLAIMED           OF PROPERTY
                  DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                          EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                  EXEMPTIONS

SCHEDULE B - PERSONAL PROPERTY
Cash On Hand                                                 11 USC § 522(d)(5)                                                       5.00                      5.00
Checking & Savings Account with Wayne                        11 USC § 522(d)(5)                                                    120.00                     120.00
Bank
Checking & Savings Account with Wells                        11 USC § 522(d)(5)                                                  1,450.00                 1,450.00
Fargo
Savings Account with Breater Alliance                        11 USC § 522(d)(5)                                                    420.00                     420.00
Credit Union
Security Deposit with Future Landlord,                       11 USC § 522(d)(5)                                                    300.00                     300.00
Peak Mangement
Bedroom Lamps                                                11 USC § 522(d)(3)                                                      60.00                     60.00
Bedroom Television                                           11 USC § 522(d)(3)                                                      25.00                     25.00
Beds (x2)                                                    11 USC § 522(d)(3)                                                    130.00                     130.00
Cedar Chest                                                  11 USC § 522(d)(3)                                                      20.00                     20.00
China Cabinet                                                11 USC § 522(d)(3)                                                    130.00                     130.00
Coffee Maker                                                 11 USC § 522(d)(3)                                                      40.00                     40.00
Coffee Tables                                                11 USC § 522(d)(3)                                                      30.00                     30.00
Dining Room Table & Chairs                                   11 USC § 522(d)(3)                                                      80.00                     80.00
Dishes, Glassware & Utensils                                 11 USC § 522(d)(3)                                                      47.00                     47.00
Dressers (x6)                                                11 USC § 522(d)(3)                                                    150.00                     150.00
End Tables                                                   11 USC § 522(d)(3)                                                      25.00                     25.00
Grill                                                        11 USC § 522(d)(3)                                                      10.00                     10.00
Living Room Lamps                                            11 USC § 522(d)(3)                                                      30.00                     30.00
Living Room Television                                       11 USC § 522(d)(3)                                                      25.00                     25.00
Love Seat                                                    11 USC § 522(d)(3)                                                      80.00                     80.00
Microwave                                                    11 USC § 522(d)(3)                                                      25.00                     25.00
Mirrors                                                      11 USC § 522(d)(3)                                                      20.00                     20.00
Night Stands (x3)                                            11 USC § 522(d)(3)                                                      40.00                     40.00
Recliner                                                     11 USC § 522(d)(3)                                                      75.00                     75.00
Refirgerator                                                 11 USC § 522(d)(3)                                                    300.00                     300.00
Small Kitchen Appliances                                     11 USC § 522(d)(3)                                                    150.00                     150.00
Stove                                                        11 USC § 522(d)(3)                                                    300.00                     300.00
Weed Whacker                                                 11 USC § 522(d)(3)                                                      40.00                     40.00
CDs                                                          11 USC § 522(d)(3)                                                      90.00                     90.00
DVDs                                                         11 USC § 522(d)(3)                                                      75.00                     75.00
Pants, Shirts, Shoes, Jackets, and Other                     11 USC § 522(d)(3)                                                    300.00                     300.00
Wearing Apparel
Bracelets                                                    11 USC § 522(d)(4)                                                      25.00                     25.00
Earrings                                                     11 USC § 522(d)(4)                                                      20.00                     20.00
Engagement Ring                                              11 USC § 522(d)(4)                                                  2,000.00                 2,000.00
Small Costume Jewelry                                        11 USC § 522(d)(4)                                                    150.00                     150.00


* Amount subject to adjustment on 4/1/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.

           Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                                 Desc
                                Schedules and Statements Page 8 of 42
B6C (Official Form 6C) (04/13) - Cont.

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                 Case No.
                                               Debtor(s)                                                                  (If known)

                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                      (Continuation Sheet)

                                                                                                                              CURRENT VALUE
                                                                                                      VALUE OF CLAIMED         OF PROPERTY
               DESCRIPTION OF PROPERTY                     SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                         EXEMPTION          WITHOUT DEDUCTING
                                                                                                                               EXEMPTIONS

Watches                                          11 USC § 522(d)(4)                                               20.00                   20.00
Wedding Rings                                    11 USC § 522(d)(4)                                             450.00                   450.00
Life Insurance Policy Through Prudential         11 USC § 522(d)(5)                                            3,426.78                 3,426.78
Life Insurance Co. of America - Cash
Surrender Value Listed
Life Insurance Through Prudential         11 USC § 522(d)(8)                                                  23,240.91                23,240.91
Insurance Co. of America - Cash Surrender
Value Listed
Life Insurance Through Prudential         11 USC § 522(d)(5)                                                  12,375.78                12,375.78
Insurance Co. of America - Cash Surrender
Value Listed
401(k) Through Coordinated Health                11 USC § 522(d)(12)                                               7.67                     7.67
IRA Through Nationwide (Debtors          11 USC § 522(d)(12)                                                  12,489.19                12,489.19
Borrowed Against this Account To Pay For
Moving Costs and Security Deposit for
Their Future Rental
Pension Through Shoprite                         11 USC § 522(d)(12)                                         100,000.00            100,000.00
Traditional IRA Through Wells Fargo              11 USC § 522(d)(12)                                           6,963.02                 6,963.02
10 Shares in Deluxe Corp (DLX) - Value as        11 USC § 522(d)(5)                                             575.00                   575.00
of closing price on September 18, 2015
10 Shares in Prudential Financial Inc.           11 USC § 522(d)(5)                                             758.30                   758.30
(PRU) - Value as of closing price on
September 18, 2015
18 Shares in Deluxe Corp (DLX) - Value as        11 USC § 522(d)(5)                                            1,035.00                 1,035.00
of closing price on July 29, 2015 (Jointly
Owned with Nicole Marie Giacchi)
2006 Chrysler Town & Country - KBB Value 11 USC § 522(d)(2)                                                    1,758.00                 1,758.00
Listed
1/4 Interest in Lifestyle Holiday Vacation       11 USC § 522(d)(5)                                            1,250.00                 1,250.00
Club (Total Asset Value Estimated At
$5,000)




        Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                 Desc
                             Schedules and Statements Page 9 of 42
B6D (Official Form 6D) (12/07)

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                                       Case No.
                                                           Debtor(s)                                                                                       (If known)

                                        SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
  State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
security interests.
  List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
will not fit on this page, use the continuation sheet provided.
  If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
   If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
   Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
Liabilities and Related Data.

    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.



                                                                                                                                            AMOUNT OF
         CREDITOR'S NAME AND MAILING ADDRESS                                     DATE CLAIM WAS INCURRED,                                 CLAIM WITHOUT
                                                                                                                                                                    UNSECURED
       INCLUDING ZIP CODE AND ACCOUNT NUMBER.                           NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                        DEDUCTING
                                                                                                                                                                  PORTION, IF ANY
                  (See Instructions Above.)                                       PROPERTY SUBJECT TO LIEN                                   VALUE OF
                                                                                                                                           COLLATERAL




ACCOUNT NO. 4840                                                J Local Taxes Incurred 2015                                                      5,337.00                 5,337.00
Monroe County Tax Claim Bureau
One Quaker Plaza, Suite 104
Stroudsburg, PA 18360

                                                                    VALUE $ 116,413.00

ACCOUNT NO. 4750                                                    MORTGAGE ACCOUNT OPENED 11/2006                                            30,391.00                30,391.00
Springleaf
Po Box 9068                                                         Second Mortgage on Debtors' Residence
Brandon, FL 33508

                                                                    VALUE $ 116,413.00

ACCOUNT NO. 0001                                                    INSTALLMENT ACCOUNT OPENED 3/2005                                        141,524.00                 25,111.00
Wells Fargo Bank Nv Na                                              First Mortgage on Debtors' Residence
Po Box 31557
Billings, MT 59107

                                                                    VALUE $ 116,413.00

ACCOUNT NO.




                                                                    VALUE $
                                                                                                                               Subtotal
       0 continuation sheets attached                                                                              (Total of this page) $ 177,252.00 $                  60,839.00
                                                                                                                                 Total
                                                                                                               (Use only on last page) $ 177,252.00 $                   60,839.00
                                                                                                                                         (Report also on         (If applicable, report
                                                                                                                                         Summary of              also on Statistical
                                                                                                                                         Schedules.)             Summary of Certain
                                                                                                                                                                 Liabilities and Related
                                                                                                                                                                 Data.)




         Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                                                 Desc
                             Schedules and Statements Page 10 of 42
B6E (Official Form 6E) (04/13)

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                                         Case No.
                                                            Debtor(s)                                                                                   (If known)

                          SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
   A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
sheet for each type of priority and label each with the type of priority.

   The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

  If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
"Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
may need to place an "X" in more than one of these three columns.)

  Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

  Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
Statistical Summary of Certain Liabilities and Related Data.

   Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
the Statistical Summary of Certain Liabilities and Related Data.

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
     responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
     U.S.C. § 507(a)(1).
     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
     appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
     independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
     Deposits by individuals
     Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
     were not delivered or provided. 11 U.S.C. § 507(a)(7).
     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
     of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
     a drug, or another substance. 11 U.S.C. § 507(a)(10).
     * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

       0 continuation sheets attached



         Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                                                Desc
                             Schedules and Statements Page 11 of 42
B6F (Official Form 6F) (12/07)

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                                        Case No.
                                                            Debtor(s)                                                                                 (If known)

                      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

  If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

   If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

  Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.




              CREDITOR'S NAME, MAILING ADDRESS                                               DATE CLAIM WAS INCURRED AND                                           AMOUNT
          INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                          CONSIDERATION FOR CLAIM. IF CLAIM IS                                      OF
                     (See Instructions Above.)                                                 SUBJECT TO SETOFF, SO STATE                                          CLAIM




ACCOUNT NO. 0001                                                        H INSTALLMENT ACCOUNT OPENED 8/2004
Aes/nct
Po Box 61047
Harrisburg, PA 17106

                                                                                                                                                                    9,182.00
ACCOUNT NO. 0002                                                        H INSTALLMENT ACCOUNT OPENED 11/2004
Aes/nct
Po Box 61047
Harrisburg, PA 17106

                                                                                                                                                                    9,128.00
ACCOUNT NO. 7393                                                        H REVOLVING ACCOUNT OPENED 4/2005
Amex
Po Box 297871
Fort Lauderdale, FL 33329

                                                                                                                                                                   13,122.00
ACCOUNT NO.                                                                Assignee or other notification for:
Jaffe & Asher LLP                                                          Amex
11 East Market Street, Suite102
York, PA 17401


                                                                                                                                                   Subtotal
       7 continuation sheets attached                                                                                                  (Total of this page) $      31,432.00
                                                                                                                                                  Total
                                                                                     (Use only on last page of the completed Schedule F. Report also on
                                                                                         the Summary of Schedules and, if applicable, on the Statistical
                                                                                                      Summary of Certain Liabilities and Related Data.) $




         Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                                              Desc
                             Schedules and Statements Page 12 of 42
B6F (Official Form 6F) (12/07) - Cont.

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                               Case No.
                                                         Debtor(s)                                                                         (If known)

                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)



             CREDITOR'S NAME, MAILING ADDRESS                                         DATE CLAIM WAS INCURRED AND                                       AMOUNT
         INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                    CONSIDERATION FOR CLAIM. IF CLAIM IS                                  OF
                    (See Instructions Above.)                                           SUBJECT TO SETOFF, SO STATE                                      CLAIM




ACCOUNT NO. 5137                                                     H Medical Debt Incurred 2015
ANES Spec. Bethlehem P.C.
P.O. Box 64500
Souderton, PA 18964

                                                                                                                                                           101.03
ACCOUNT NO. 2070                                                        REVOLVING ACCOUNT OPENED 10/2007
Barclays Bank Delaware
P.o. Box 8803
Wilmington, DE 19899

                                                                                                                                                         3,755.00
ACCOUNT NO.                                                             Assignee or other notification for:
Juniper MC                                                              Barclays Bank Delaware
P.O. Box 8826
Wilmington, DE 19899-8826



ACCOUNT NO.                                                          J Cable Debt Incurred 2015
Blue Ridge Communications
P.O. Box 316
Palmerton, PA 18071

                                                                                                                                                            80.00
ACCOUNT NO. 6908                                                        REVOLVING ACCOUNT OPENED 7/2007
Capital One Bank (USA) N.A.
P.O. Box 71083
Charlotte, NC 28272-1083

                                                                                                                                                        10,390.00
ACCOUNT NO. 3781                                                        REVOLVING ACCOUNT OPENED 10/1995
Capital One Bank Usa N
Pob 30281
Salt Lake City, UT 84130

                                                                                                                                                         1,874.00
ACCOUNT NO. 3940                                                        REVOLVING ACCOUNT OPENED 7/2003
Chase Card
Po Box 15298
Wilmington, DE 19850

                                                                                                                                                         4,117.00
Sheet no.       1 of        7 continuation sheets attached to                                                                            Subtotal
Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                   (Total of this page) $     20,317.03
                                                                                                                                            Total
                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                Summary of Certain Liabilities and Related Data.) $



         Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                                  Desc
                             Schedules and Statements Page 13 of 42
B6F (Official Form 6F) (12/07) - Cont.

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                               Case No.
                                                         Debtor(s)                                                                         (If known)

                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)



             CREDITOR'S NAME, MAILING ADDRESS                                         DATE CLAIM WAS INCURRED AND                                       AMOUNT
         INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                    CONSIDERATION FOR CLAIM. IF CLAIM IS                                  OF
                    (See Instructions Above.)                                           SUBJECT TO SETOFF, SO STATE                                      CLAIM




ACCOUNT NO. 0969                                                        REVOLVING ACCOUNT OPENED 2/1997
Credit First N A
6275 Eastland Rd
Brookpark, OH 44142

                                                                                                                                                         2,255.00
ACCOUNT NO. 9300                                                     W REVOLVING ACCOUNT OPENED 12/1989
Discover Fin Svcs Llc
Po Box 15316
Wilmington, DE 19850

                                                                                                                                                         9,301.00
ACCOUNT NO. 0295                                                     H REVOLVING ACCOUNT OPENED 12/1987
Discover Fin Svcs Llc
Po Box 15316
Wilmington, DE 19850

                                                                                                                                                        14,350.00
ACCOUNT NO.                                                             Assignee or other notification for:
Capital Management Services LP                                          Discover Fin Svcs Llc
698 1/2 South Ogden Street
Buffalo, NY 14206-2317



ACCOUNT NO. 2742                                                        REVOLVING ACCOUNT OPENED 4/1998
Exxmblciti
Po Box 6497
Sioux Falls, SD 57117

                                                                                                                                                           789.00
ACCOUNT NO.                                                             Assignee or other notification for:
United Recovery Systems LP                                              Exxmblciti
5800 North Course Drive
Houston, TX 77072



ACCOUNT NO. 5132                                                     H Medical Debt Incurred 2014
Family Care Centers Inc.
P.O. Box 827658
Philadelphia, PA 19182-7658

                                                                                                                                                            11.60
Sheet no.       2 of        7 continuation sheets attached to                                                                            Subtotal
Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                   (Total of this page) $     26,706.60
                                                                                                                                            Total
                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                Summary of Certain Liabilities and Related Data.) $



         Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                                  Desc
                             Schedules and Statements Page 14 of 42
B6F (Official Form 6F) (12/07) - Cont.

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                               Case No.
                                                         Debtor(s)                                                                         (If known)

                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)



             CREDITOR'S NAME, MAILING ADDRESS                                         DATE CLAIM WAS INCURRED AND                                       AMOUNT
         INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                    CONSIDERATION FOR CLAIM. IF CLAIM IS                                  OF
                    (See Instructions Above.)                                           SUBJECT TO SETOFF, SO STATE                                      CLAIM




ACCOUNT NO. 0001                                                     H INSTALLMENT ACCOUNT OPENED 6/2013
Fed Loan Serv
Po Box 60610
Harrisburg, PA 17106

                                                                                                                                                        64,583.00
ACCOUNT NO. 4960                                                     H REVOLVING ACCOUNT OPENED 4/2009
Kohls/capone
N56 W 17000 Ridgewood Dr
Menomonee Falls, WI 53051

                                                                                                                                                           248.00
ACCOUNT NO. 0969                                                     H Revolving Account Incurred 2015
Kost Tire & Auto Service
P.O. Box 81410
Cleveland, OH 44181

                                                                                                                                                         2,255.09
ACCOUNT NO. 8578                                                     H Medical Debt Incurred 2014
Pinnacle Mid-Atlantic ANES/PA
P.O. Box 650782
Dallas, TX 75265-0782

                                                                                                                                                           658.00
ACCOUNT NO. 8174                                                     H Mediacl Debt Incurred 2011
Pocono Emergency Physicians
P.O. Box 827658
Philadelphia, PA 19182

                                                                                                                                                            77.00
ACCOUNT NO.                                                             Assignee or other notification for:
NCO Financial Systems                                                   Pocono Emergency Physicians
507 Prudential Road
Horsham, PA 19044



ACCOUNT NO. 1232                                                     H Medical Debt Incurred 2011
Pocono Imaging Partner LLP
P.O. Box 60
East Stroudsburg, PA 18301-9629

                                                                                                                                                            55.56
Sheet no.       3 of        7 continuation sheets attached to                                                                            Subtotal
Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                   (Total of this page) $     67,876.65
                                                                                                                                            Total
                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                Summary of Certain Liabilities and Related Data.) $



         Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                                  Desc
                             Schedules and Statements Page 15 of 42
B6F (Official Form 6F) (12/07) - Cont.

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                               Case No.
                                                         Debtor(s)                                                                         (If known)

                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)



             CREDITOR'S NAME, MAILING ADDRESS                                         DATE CLAIM WAS INCURRED AND                                       AMOUNT
         INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                    CONSIDERATION FOR CLAIM. IF CLAIM IS                                  OF
                    (See Instructions Above.)                                           SUBJECT TO SETOFF, SO STATE                                      CLAIM




ACCOUNT NO. 5765                                                     H Medical Lab Debt Incurred 2013
Pocono Medical Center
P.O Box 822009
Philadelphia, PA 19182

                                                                                                                                                            14.34
ACCOUNT NO.                                                             Assignee or other notification for:
Computer Credit Inc.                                                    Pocono Medical Center
Claim Dept. 003755
640 West Fourth St., P.O. Box 5238
Winston-Salem, NC 27113-5238

ACCOUNT NO.                                                             Assignee or other notification for:
Penn Credit Corp                                                        Pocono Medical Center
916 South 14th Street
Harrisburg, PA 17104



ACCOUNT NO.                                                             Assignee or other notification for:
Powell, Rogers & Speaks, Inc.                                           Pocono Medical Center
P.O. Box 930
Halifax, PA 17032



ACCOUNT NO.                                                          H OPEN ACCOUNT OPENED 5/2014
Progressive Physician Associates
3735 Nazareth Rd # 206
Nazareth, PA 18045

                                                                                                                                                            19.00
ACCOUNT NO.                                                             Assignee or other notification for:
Americollect Inc                                                        Progressive Physician Associates
1851 S Alverno Rd
Manitowoc, WI 54220



ACCOUNT NO.                                                          H OPEN ACCOUNT OPENED 9/2014
Progressive Physician Associates
3735 Nazareth Rd # 206
Nazareth, PA 18045

                                                                                                                                                            16.00
Sheet no.       4 of        7 continuation sheets attached to                                                                            Subtotal
Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                   (Total of this page) $         49.34
                                                                                                                                            Total
                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                Summary of Certain Liabilities and Related Data.) $



         Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                                  Desc
                             Schedules and Statements Page 16 of 42
B6F (Official Form 6F) (12/07) - Cont.

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                               Case No.
                                                         Debtor(s)                                                                         (If known)

                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)



             CREDITOR'S NAME, MAILING ADDRESS                                         DATE CLAIM WAS INCURRED AND                                       AMOUNT
         INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                    CONSIDERATION FOR CLAIM. IF CLAIM IS                                  OF
                    (See Instructions Above.)                                           SUBJECT TO SETOFF, SO STATE                                      CLAIM




ACCOUNT NO.                                                             Assignee or other notification for:
Americollect Inc                                                        Progressive Physician Associates
1851 S Alverno Rd
Manitowoc, WI 54220



ACCOUNT NO.                                                          H OPEN ACCOUNT OPENED 9/2014
Progressive Physician Associates
3735 Nazareth Rd # 206
Nazareth, PA 18045

                                                                                                                                                            16.00
ACCOUNT NO.                                                             Assignee or other notification for:
Americollect Inc                                                        Progressive Physician Associates
1851 S Alverno Rd
Manitowoc, WI 54220



ACCOUNT NO. 9827                                                     H Installation Loan from Debtor's Life Insurance
Prudential Insurance Co. Of America                                    Policy Incurred 2015
751 Broad Street
Newark, NJ 07102

                                                                                                                                                        14,485.50
ACCOUNT NO. 6213                                                     J Medical Debt Incurred 2014
St. Lukes Physicians Group
P.O. Box 5386
Bethlehem, PA 18015-0386

                                                                                                                                                            93.00
ACCOUNT NO.                                                             Assignee or other notification for:
Peerless Credit Services Inc.                                           St. Lukes Physicians Group
P.O. Box 518
Middletown, PA 17057



ACCOUNT NO. 6213                                                     H Medical Debt Incurred 2014
St. Lukes Physicians Group
P.O. Box 5386
Bethlehem, PA 18015-0386

                                                                                                                                                            58.40
Sheet no.       5 of        7 continuation sheets attached to                                                                            Subtotal
Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                   (Total of this page) $     14,652.90
                                                                                                                                            Total
                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                Summary of Certain Liabilities and Related Data.) $



         Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                                  Desc
                             Schedules and Statements Page 17 of 42
B6F (Official Form 6F) (12/07) - Cont.

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                               Case No.
                                                         Debtor(s)                                                                         (If known)

                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)



             CREDITOR'S NAME, MAILING ADDRESS                                         DATE CLAIM WAS INCURRED AND                                       AMOUNT
         INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                    CONSIDERATION FOR CLAIM. IF CLAIM IS                                  OF
                    (See Instructions Above.)                                           SUBJECT TO SETOFF, SO STATE                                      CLAIM




ACCOUNT NO. 0337                                                     H Medical Debt Incurred 2014
St. Lukes University Health Network
Dept 21784
P.O. Box 1259
Oaks, PA 19456
                                                                                                                                                           215.51
ACCOUNT NO. 4791                                                     J Utilities Debt Incurred 2015
Suburban Propane
P.O. Box J
Whippany, NJ 07981

                                                                                                                                                           446.79
ACCOUNT NO. 1576                                                     H REVOLVING ACCOUNT OPENED 9/2012
Syncb/lowes
Po Box 965005
Orlando, FL 32896

                                                                                                                                                         1,363.00
ACCOUNT NO. 6963                                                     W REVOLVING ACCOUNT OPENED 6/1987
Syncb/plcc
Po Box 965024
Orlando, FL 32896

                                                                                                                                                           388.00
ACCOUNT NO. 1023                                                     H REVOLVING ACCOUNT OPENED 11/2006
Thd/cbna
Po Box 6497
Sioux Falls, SD 57117

                                                                                                                                                         3,288.00
ACCOUNT NO.                                                             Assignee or other notification for:
Viking Client Services                                                  Thd/cbna
7500 Office Ridge Circle
Eden Prairie, MN 55344



ACCOUNT NO. 3383                                                     H Medical Debt Incurred 2011
Urology Associates Of The Poconos Inc.
422 Normal Street
East Stroudsburg, PA 18301

                                                                                                                                                            91.00
Sheet no.       6 of        7 continuation sheets attached to                                                                            Subtotal
Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                   (Total of this page) $      5,792.30
                                                                                                                                            Total
                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                Summary of Certain Liabilities and Related Data.) $



         Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                                  Desc
                             Schedules and Statements Page 18 of 42
B6F (Official Form 6F) (12/07) - Cont.

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                            Case No.
                                                         Debtor(s)                                                                     (If known)

                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)



             CREDITOR'S NAME, MAILING ADDRESS                                       DATE CLAIM WAS INCURRED AND                                     AMOUNT
         INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                  CONSIDERATION FOR CLAIM. IF CLAIM IS                                OF
                    (See Instructions Above.)                                         SUBJECT TO SETOFF, SO STATE                                    CLAIM




ACCOUNT NO. 4667                                                       REVOLVING ACCOUNT OPENED 12/2006
Wells Fargo Bank
Po Box 14517
Des Moines, IA 50306

                                                                                                                                                    15,525.00
ACCOUNT NO. 9042                                                     W REVOLVING ACCOUNT OPENED 4/2006
Wf Crd Svc
Po Box 14517
Des Moines, IA 50306

                                                                                                                                                     7,280.00
ACCOUNT NO. 9346                                                       REVOLVING ACCOUNT OPENED 10/2007
Wf Crd Svc
Po Box 14517
Des Moines, IA 50306

                                                                                                                                                     5,917.00
ACCOUNT NO.




ACCOUNT NO.




ACCOUNT NO.




ACCOUNT NO.




Sheet no.       7 of        7 continuation sheets attached to                                                                        Subtotal
Schedule of Creditors Holding Unsecured Nonpriority Claims                                                               (Total of this page) $     28,722.00
                                                                                                                                          Total
                                                                             (Use only on last page of the completed Schedule F. Report also on
                                                                                 the Summary of Schedules, and if applicable, on the Statistical
                                                                                              Summary of Certain Liabilities and Related Data.) $ 195,548.82



         Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                              Desc
                             Schedules and Statements Page 19 of 42
B6G (Official Form 6G) (12/07)

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                                         Case No.
                                                            Debtor(s)                                                                                  (If known)

                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
   Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                   NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                    STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                      OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                      STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.

Peak Management                                                                          Debtors' Future Residential Lease
O/B/O Satir Hill Apartments
1 Spindrift Circle
Parkville, MD 21234




         Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                                               Desc
                             Schedules and Statements Page 20 of 42
B6H (Official Form 6H) (12/07)

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                                          Case No.
                                                             Debtor(s)                                                                                   (If known)

                                                                 SCHEDULE H - CODEBTORS
   Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.

                           NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR




          Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                                               Desc
                              Schedules and Statements Page 21 of 42
 Fill in thi s information to identify your case:


 Debtor 1          ___ ____John
                   Louis         Giacchi
                           ____________ ____ _____ ______ ____ ____________ ____ ______ ____ ____
                     F irst Name               Middle Name                  Last Name

 Debtor 2            Janice
                     ___      Ellen
                         _________   Giacchi
                                   _______ _________ ______ ________________ ____ _____ _______
 (Spouse, if filing) F irst Name               Middle Name                  Last Name


 United States Bankruptcy Court for t he: Middle District of Pennsylvania

 Case num ber        ___ _________ ___________ ___________ _________                                          Check if this is:
     (If known)
                                                                                                                  An amended filing
                                                                                                                  A supplement showing post-petition
                                                                                                                  chapter 13 income as of the following date:
                                                                                                                  ________________
Official Form 6I                                                                                                  MM / DD / YYYY


Schedule I: Your Income                                                                                                                                          12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not fili ng jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every questi on.


 Part 1:           Describe Employment


1.    Fill in your employment
      information.                                                                Debtor 1                                       Debtor 2 or non-filing spouse

       If you have more than one job,
       attach a separate page with
       information about additional         Employment status                      Employed                                         Employed
       employers.                                                                  Not employed                                     Not employed
       Include part-time, seasonal, or
       self-employed work.
                                            Occupation                       __________________________________              __________________________________
       Occupation may Include student
       or homemaker, if it applies.
                                            Employer’s name                  __________________________________              __________________________________


                                            Employer’s address              __ ____ _______ _____ _______________ ______    ___ _______ ____ _____ ____ ______ _____ ______
                                                                              Number Street                                   Number     Street

                                                                            __ ____ _____ ________________ ______ ______    ___ _______ __ ______ _____ _______ ____ _____ _

                                                                            ____ _____ ____ _______ ____ ___________ ____   _____ _____ ___________ ____ _____ ______ ____


                                                                            __ ____ _____ ________________ ______ ______    _____ _____ ______ _____ ____ _____ ______ ____
                                                                              Cit y             State  ZIP Code               City                    State ZIP Code

                                            How long employed there?               _______                                    _______

 Part 2:           Give Details About Monthly Income

       Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
       spouse unless you are separated.
       If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
       below. If you need more space, attach a separate sheet to this form.

                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                              non-filing spouse
 2.     List monthly gross wages, salary, and commissions (before all payroll
        deductions). If not paid monthly, calculate what the monthly wage would be.               2.
                                                                                                              0.00
                                                                                                        $___________                     0.00
                                                                                                                                  $____________

 3.     Estimate and list monthly overtime pay.                                                   3.   + $___________
                                                                                                              0.00           +           0.00
                                                                                                                                  $____________


 4.     Calculate gross income. Add line 2 + line 3.                                              4.         0.00
                                                                                                        $__________                      0.00
                                                                                                                                  $____________



Official Form
          Case6I        5:15-bk-04073-RNO Doc 1-1Schedule
                                                     FiledI: Your Income
                                                             09/23/15    Entered 09/23/15 10:36:42                                                        page 1
                                                                                                                                                        Desc
                                       Schedules and Statements Page 22 of 42
Debtor 1             Louis
                    ___      John
                        _______     Giacchi _____ ____ _______ _________ _____
                                _______________                                                                               Case number   (if known) _____ _______ _____ ____ _______ _____ ____
                    First Name          Middle Name                Last Name



                                                                                                                             For Debtor 1           For Debtor 2 or
                                                                                                                                                    non-filing spouse

      Copy line 4 here ............................................................................................   4.             0.00
                                                                                                                              $___________                     0.00
                                                                                                                                                        $_____________

5.    List all payroll deductions:

       5a. Tax, Medicare, and Social Security deductions                                                              5a.            0.00
                                                                                                                             $____________                    0.00
                                                                                                                                                       $_____________
       5b. Mandatory contributions for retirement plans                                                               5b.            0.00
                                                                                                                             $____________                    0.00
                                                                                                                                                       $_____________
       5c. Voluntary contributions for retirement plans                                                               5c.            0.00
                                                                                                                             $____________                    0.00
                                                                                                                                                       $_____________
       5d. Required repayments of retirement fund loans                                                               5d.            0.00
                                                                                                                             $____________                    0.00
                                                                                                                                                       $_____________
       5e. Insurance                                                                                                  5e.            0.00
                                                                                                                             $____________                    0.00
                                                                                                                                                       $_____________
       5f. Domestic support obligations                                                                               5f.            0.00
                                                                                                                             $____________                    0.00
                                                                                                                                                       $_____________

       5g. Union dues                                                                                                 5g.            0.00
                                                                                                                             $____________                    0.00
                                                                                                                                                       $_____________

       5h. Other deductions. Specify: __________________________________                                              5h.   + $____________
                                                                                                                                      0.00         +          0.00
                                                                                                                                                       $_____________

 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.             0.00
                                                                                                                             $____________                    0.00
                                                                                                                                                       $_____________

 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.            0.00
                                                                                                                             $____________                    0.00
                                                                                                                                                       $_____________


 8.   List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
                                                                                                                                     0.00
                                                                                                                             $____________                    0.00
                                                                                                                                                       $_____________
           monthly net income.                                                                                        8a.
        8b. Interest and dividends                                                                                    8b.            0.00
                                                                                                                             $____________             $_____________
                                                                                                                                                              0.00
       8c. Family support payments that you, a non-filing spouse, or a dependent
           regularl y receive
           Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                                     0.00
                                                                                                                             $____________                    0.00
                                                                                                                                                       $_____________
           settlement, and property settlement.                                  8c.
       8d. Unemployment compensation                                                                                  8d.           0.00
                                                                                                                             $____________                    0.00
                                                                                                                                                       $_____________
       8e. Social Security                                                                                            8e.            0.00
                                                                                                                             $____________                    0.00
                                                                                                                                                       $_____________
        8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental                                                1,406.77
                                                                                                                             $____________                    0.00
                                                                                                                                                       $_____________
            Nutrition Assistance Program) or housing subsidies.
            Specify: ___________________________________________________
                      See Schedule Attached                                           8f.

        8g. Pension or retirement income                                                                              8g.            0.00
                                                                                                                             $____________                    0.00
                                                                                                                                                       $_____________

        8h. Other monthly income. Specify: Half
                                           ________________
                                                Of Federal Refund_______________
                                                                  (Divided By 12)                                     8h.   + $____________
                                                                                                                                    326.92           + $_____________
                                                                                                                                                             326.92
 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.          1,733.69
                                                                                                                             $____________                   326.92
                                                                                                                                                       $_____________

10. Calculate  monthly income. Add line 7 + line 9.
      Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.
                                                                                                                                 1,733.69
                                                                                                                             $___________      +               326.92 = $_____________
                                                                                                                                                        $_____________       2,060.61

11.   State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
      other friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
      Specify: _______________________________________________________________________________                                                                           11.   + $_____________
                                                                                                                                                                                         0.00
12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
      Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                       12.        2,060.61
                                                                                                                                                                                 $_____________
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do     you expect an increase or decrease within the year after you file this form?
            No.
            Yes. Explain: See Continuation Sheet


  OfficialCase
          Form 6I 5:15-bk-04073-RNO                               Doc 1-1Schedule
                                                                             FiledI: Your Income
                                                                                     09/23/15    Entered 09/23/15 10:36:42                                                        page 2
                                                                                                                                                                                Desc
                                                              Schedules and Statements Page 23 of 42
IN RE Giacchi, Louis John & Giacchi, Janice Ellen                               Case No.
                                        Debtor(s)

                        SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                             Continuation Sheet - Page 1 of 2

                                                                                           DEBTOR      SPOUSE
Other government assistance:
NJ Disability                                                                               980.57          0.00
Supplemental Disability Policy                                                              426.20          0.00




       Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                       Desc
                           Schedules and Statements Page 24 of 42
IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                                  Case No.
                                                         Debtor(s)

                                SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                              Continuation Sheet - Page 2 of 2
Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
Debtor has been on Disability from the State of New Jersey Since June of 2015.
2014 Federal Refund - $7,846.00




         Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                     Desc
                             Schedules and Statements Page 25 of 42
     Fill in this information to identify your case:

     Debtor 1           Louis
                       ___      John
                           _______      Giacchi
                                   ____ _____ ____ _____ ______ ____ _______ _____ ____ _______ ____ _
                        First Name                  Middle Name                  Last Name                       Check if this is:
     Debtor 2           Janice
                        ___      Ellen
                            _________   Giacchi
                                      _______ _________ ______ _______ ____ _____ ____ __________
                                                                                                                     An amended filing
     (Spouse, if filing) First Name                 Middle Name                  Last Name
                                                                                                                     A supplement showing post-petition chapter 13
     United Sta tes Bankruptcy Court for th e: Middle District of Pennsylvania                                       expenses as of the following date:
                                                                                                                     ________________
     Case num ber       ___ ____ _____ ___________ ___________ _______ __                                            MM / DD / YYYY
      (If known)
                                                                                                                     A separate filing for Debtor 2 because Debtor 2
                                                                                                                     maintains a separate household
Official Form 6J
Schedule J: Your Expenses                                                                                                                                       12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:               Describe Your Household

1.    Is this a joint case?

           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                        No
                        Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                         No                                     Dependent’s relations hip to              Dependent’s   Does d ependent live
      Do not list Debtor 1 and                        Yes. Fill out this information for Debtor 1 or Debtor 2                          age           with you?
      Debtor 2.                                       each dependent.... ......................
                                                                                                                                                          No
      Do not state the dependents’                                                           _________________________                 ________
      names.                                                                                                                                              Yes

                                                                                             _________________________                 ________           No
                                                                                                                                                          Yes

                                                                                             _________________________                 ________           No
                                                                                                                                                          Yes

                                                                                             _________________________                 ________           No
                                                                                                                                                          Yes

                                                                                             _________________________                 ________           No
                                                                                                                                                          Yes

3.    Do your expenses include
                                                      No
      expenses of people other than
      yourself and your dependents?                   Yes

Part 2:            Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                                       Your expenses

 4.     The rental or home ownership expenses for your residence. Include first mortgage payments and
        any rent for the ground or lot.                                                                                          4.
                                                                                                                                                750.00
                                                                                                                                         $_____________________

        If not i ncluded in line 4:
        4a.    Real est ate taxes                                                                                                4a.             0.00
                                                                                                                                         $_____________________
        4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.             0.00
                                                                                                                                         $_____________________
        4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.            25.00
                                                                                                                                         $_____________________

        4d.    Homeowner’s association or condominium dues                                                                       4d.             0.00
                                                                                                                                         $_____________________

     Official Form 6J                                                 Schedule J: Your Expenses                                                             page 1
              Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                                 Desc
                                  Schedules and Statements Page 26 of 42
 Debtor 1            Louis
                     ___     John
                         _______    Giacchi _____ ____ _______ _________ _____
                                 _______________                                               Case number   (if known) _____ _______ _____ ____ _______ _____ ____
                     First Name     Middle Name        Last Name




                                                                                                                              Your expenses

                                                                                                                             $_____________________
                                                                                                                                     0.00
 5.    Additional mortgage payments for your residence, such as home equity loans                                    5.


 6.    Utilities:
        6a.     Electricity, heat, natural gas                                                                       6a.            383.00
                                                                                                                             $_____________________
        6b.     Water, sewer, garbage collection                                                                     6b.            18.75
                                                                                                                             $_____________________
        6c.     Telephone, cell phone, Internet, satellite, and cable services                                       6c.             0.00
                                                                                                                             $_____________________

        6d.                     See Schedule Attached
                Other. Specify: _______________________________________________                                      6d.            339.00
                                                                                                                             $_____________________

 7.    Food and housekeeping supplies                                                                                7.             400.00
                                                                                                                             $_____________________

 8.    Childcare and children’s education costs                                                                      8.              0.00
                                                                                                                             $_____________________
 9.    Clothing, laundry, and dry cleaning                                                                           9.             20.00
                                                                                                                             $_____________________
10.    Personal care products and services                                                                           10.            100.00
                                                                                                                             $_____________________
11.    Medical and dental expenses                                                                                   11.            50.00
                                                                                                                             $_____________________
12.    Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                    200.00
                                                                                                                             $_____________________
       Do not include car payments.                                                                                  12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                           13.             0.00
                                                                                                                             $_____________________
14.     Charitable contributions and religious donations                                                             14.             5.00
                                                                                                                             $_____________________

15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a .   Life insurance                                                                                       15a .          139.17
                                                                                                                             $_____________________
        15b .   Health insurance                                                                                     15b .           0.00
                                                                                                                             $_____________________
        15c.    Vehicle insurance                                                                                    15c.           130.00
                                                                                                                             $_____________________
        15d .   Other insurance. Specify:_______________________________________
                                          Union Dues (To Keep Health Insurance)                                      15d .          17.00
                                                                                                                             $_____________________

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                     0.00
                                                                                                                             $_____________________
        Specify: ________________________________________________________                                            16.


17.    Installment or lease payments:
        17a .   Car payments for Vehicle 1                                                                           17a.            0.00
                                                                                                                             $_____________________

        17b .   Car payments for Vehicle 2                                                                           17b .           0.00
                                                                                                                             $_____________________

        17 c.                    Vacation Club
                Other. Specify:_________________________________
                                                               ______________                                        17c.           33.60
                                                                                                                             $_____________________

        17 d.   Other. Specify:_________________________________
                                                               ______________                                        17d .   $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
                                                                                                                                     0.00
                                                                                                                             $_____________________
       your pay on line 5, Schedule I, Your Income (Official Form 6I).                                                18.


19.    Other payments you make to support others who do not live with you.                                                           0.00
                                                                                                                             $_____________________
       Specify:_______________________________________________________                                                19.

20.    Other real property expenses not included in l ines 4 or 5 of this form or on Schedule I: Your Income.

        20a .   Mort gages on other property                                                                        20 a.            0.00
                                                                                                                             $_____________________

        20b .   Real estate taxes                                                                                   20b .            0.00
                                                                                                                             $_____________________

        20c.    Property, homeowner’s, or renter’s insurance                                                        20c.             0.00
                                                                                                                             $_____________________

        20d .   Maintenance, repair, and upkeep expenses                                                            20d .            0.00
                                                                                                                             $_____________________

        20e .   Homeowner’s association or condominium dues                                                         20e .            0.00
                                                                                                                             $_____________________



      Official Form 6J                                             Schedule J: Your Expenses                                                          page 2
                Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                          Desc
                                    Schedules and Statements Page 27 of 42
 Debtor 1          Louis
                  ___      John
                      _______     Giacchi _____ ____ _______ _________ _____
                              _______________                                                  Case number    (if known) _____ _______ _____ ____ _______ _____ ____
                  First Name   Middle Name        Last Name




21.     Other. Specify: ________________________________
                        See Schedule Attached           _________________                                            21 .           115.16
                                                                                                                            +$_____________________

22.    Your monthly expenses. Add lines 4 t hrough 21.
                                                                                                                                   2,725.68
                                                                                                                              $_____________________
       The result is your monthly expenses.                                                                          22 .




23.   Calculate your monthly net income.
                                                                                                                                    2,060.61
                                                                                                                               $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                           23a.

      23b.   Copy your monthly expenses from line 22 above.                                                         23b .   – $_____________________
                                                                                                                                    2,725.68

      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                     -665.07
                                                                                                                               $_____________________
             The result is your monthly net income.                                                                 23c.




24.    Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan wit hin the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

          No.
          Yes.    None




      Official Form 6J                                        Schedule J: Your Expenses                                                                page 3
             Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                              Desc
                                 Schedules and Statements Page 28 of 42
IN RE Giacchi, Louis John & Giacchi, Janice Ellen                               Case No.
                                        Debtor(s)

                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                             Continuation Sheet - Page 1 of 1
Other Utilities (DEBTOR)
Phone/Cable/Internet                                                                              139.00
Cell Phone                                                                                        200.00

Other Expenses (DEBTOR)
AAA                                                                                                15.16
Automotive Upkeep                                                                                 100.00




      Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42              Desc
                          Schedules and Statements Page 29 of 42
B6 Declaration (Official Form 6 - Declaration) (12/07)

IN RE Giacchi, Louis John & Giacchi, Janice Ellen                                                                   Case No.
                                                          Debtor(s)                                                                                    (If known)

                                        DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      29 sheets, and that they are
true and correct to the best of my knowledge, information, and belief.

Date: September 23, 2015                             Signature: /s/ Louis John Giacchi
                                                                                                                                                                                  Debtor
                                                                  Louis John Giacchi

Date: September 23, 2015                             Signature: /s/ Janice Ellen Giacchi
                                                                                                                                                                    (Joint Debtor, if any)
                                                                  Janice Ellen Giacchi
                                                                                                                          [If joint case, both spouses must sign.]

              DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
any fee from the debtor, as required by that section.

Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
responsible person, or partner who signs the document.


Address




Signature of Bankruptcy Petition Preparer                                                                          Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
is not an individual:


If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
member or an authorized agent of the partnership) of the
(corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
knowledge, information, and belief.



Date:                                                Signature:


                                                                                                                            (Print or type name of individual signing on behalf of debtor)

              [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
         Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.


           Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                                               Desc
                               Schedules and Statements Page 30 of 42
B7 (Official Form 7) (04/13)

                                                         United States Bankruptcy Court
                                                         Middle District of Pennsylvania

IN RE:                                                                                                       Case No.
Giacchi, Louis John & Giacchi, Janice Ellen                                                                  Chapter 7
                                                 Debtor(s)

                                                  STATEMENT OF FINANCIAL AFFAIRS
   This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

  Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                        DEFINITIONS

  "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

  "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101(2),(31).

1. Income from employment or operation of business
 None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
        including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
        case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
        maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
        beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
        under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
        joint petition is not filed.)
           AMOUNT SOURCE
          107,069.00 2014 IRS 1040 (Joint Adjusted Gross Income)
          118,797.00 2013 IRS 1040 (Joint Adjusted Gross Income)
            98,648.00 2012 IRS 1040 (Joint Adjusted Gross Income)

2. Income other than from employment or operation of business
 None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
        two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
        separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

3. Payments to creditors
Complete a. or b., as appropriate, and c.
 None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
        debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
        constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
        a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
        counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)




         Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                              Desc
                             Schedules and Statements Page 31 of 42
 None
        b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
        preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
        $6,255.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
        obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
        debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
        is filed, unless the spouses are separated and a joint petition is not filed.)

        * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

 None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
        who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
        a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

4. Suits and administrative proceedings, executions, garnishments and attachments
 None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
        bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
        not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
        the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
        or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

5. Repossessions, foreclosures and returns
 None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
        the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
        include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
        joint petition is not filed.)

6. Assignments and receiverships
 None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
        (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
        unless the spouses are separated and joint petition is not filed.)

 None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
        spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

7. Gifts
 None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
        gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
        per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
        a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
NAME AND ADDRESS OF PERSON                                       RELATIONSHIP TO                                           DESCRIPTION AND
OR ORGANIZATION                                                  DEBTOR, IF ANY                     DATE OF GIFT           VALUE OF GIFT
Mr. & Mrs. Adam Wheeler                                          Relative                           June 20, 2015          $250.00 was gifted to the
                                                                                                                           Recipients for a wedding
                                                                                                                           gift.

8. Losses
 None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
        a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

9. Payments related to debt counseling or bankruptcy
 None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
        consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
        of this case.
                                                                 DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
NAME AND ADDRESS OF PAYEE                                        PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
Patrick J. Best, Esq.                                            7/8/2015                                                             1,200.00
18 North 8th Street




           Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                            Desc
                               Schedules and Statements Page 32 of 42
Stroudsburg, PA 18360-0000
Consumer Credit Counseling Services                               7/8/2015                                                                                50.00
Of N.E.P.A.
411 Main Street
Stroudsburg, PA 18360-0000

10. Other transfers
 None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
        absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
        chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)

 None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
        device of which the debtor is a beneficiary.

11. Closed financial accounts
 None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
        transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
        certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
        brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
        accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)
                                                                  TYPE OF ACCOUNT, LAST FOUR                     AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                   DIGITS OF ACCOUNT NUMBER,                      OR CLOSING
                                                                  AND AMOUNT OF FINAL BALANCE
Greater Alliance F.C.U.                                           (Combined Primary Shares/Savings,              Closed on or about September 4,
                                                                  Freedom Club, and AGL Insurance                2015 with $286.00 in it.
                                                                  Premium Accounts)

12. Safe deposit boxes
 None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
        preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
        both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

13. Setoffs
 None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
        case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)

14. Property held for another person
 None   List all property owned by another person that the debtor holds or controls.


15. Prior address of debtor
 None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
        that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.
ADDRESS                                                           NAME USED                                               DATES OF OCCUPANCY
1119 Indian Mountain Lakes, Albrightsville, PA                                                                            1987 - Present
18210
Debtors' current address (Readdressed in Accordance with the Monroe County 911 Emergency Changeover)
1 Spindrift Cr. Apt. A, Parkville, MD 21234                                                                               October 2015 - Onward

16. Spouses and Former Spouses
 None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
        Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
        identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.




         Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                                Desc
                             Schedules and Statements Page 33 of 42
17. Environmental Information
For the purpose of this question, the following definitions apply:
“Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
the cleanup of these substances, wastes or material.
“Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
debtor, including, but not limited to, disposal sites.
“Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
or similar term under an Environmental Law.

 None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
        potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
        Environmental Law.

 None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
        the governmental unit to which the notice was sent and the date of the notice.

 None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
        is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

18. Nature, location and name of business
 None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates
        of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
        proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
        commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
        preceding the commencement of this case.
        If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
        of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
        preceding the commencement of this case.
        If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
        of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
        preceding the commencement of this case.
 None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
thereto and that they are true and correct.



Date: September 23, 2015                         Signature /s/ Louis John Giacchi
                                                 of Debtor                                                                            Louis John Giacchi

Date: September 23, 2015                         Signature /s/ Janice Ellen Giacchi
                                                 of Joint Debtor                                                                     Janice Ellen Giacchi
                                                 (if any)

                                                                   0 continuation pages attached


 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.




         Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                              Desc
                             Schedules and Statements Page 34 of 42
B8 (Official Form 8) (12/08)
                                                    United States Bankruptcy Court
                                                    Middle District of Pennsylvania

IN RE:                                                                                       Case No.
Giacchi, Louis John & Giacchi, Janice Ellen                                                  Chapter 7
                                             Debtor(s)

                               CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
estate. Attach additional pages if necessary.)
 Property No. 1
 Creditor’s Name:                                                       Describe Property Securing Debt:
 Monroe County Tax Claim Bureau                                         Residential Dwelling Located at
 Property will be (check one):
     Surrendered       Retained
 If retaining the property, I intend to (check at least one):
       Redeem the property
       Reaffirm the debt
       Other. Explain                                                               (for example, avoid lien using 11 U.S.C. § 522(f)).
 Property is (check one):
     Claimed as exempt            Not claimed as exempt

 Property No. 2 (if necessary)
 Creditor’s Name:                                                       Describe Property Securing Debt:
 Springleaf                                                             Residential Dwelling Located at
 Property will be (check one):
     Surrendered       Retained
 If retaining the property, I intend to (check at least one):
       Redeem the property
       Reaffirm the debt
       Other. Explain                                                               (for example, avoid lien using 11 U.S.C. § 522(f)).
 Property is (check one):
     Claimed as exempt            Not claimed as exempt
PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
additional pages if necessary.)
 Property No. 1
 Lessor’s Name:                                      Describe Leased Property:                   Lease will be assumed pursuant to
 Peak Management                                     Debtors' Future Residential Lease           11 U.S.C. § 365(p)(2):
                                                                                                    Yes     No

 Property No. 2 (if necessary)
 Lessor’s Name:                                      Describe Leased Property:                   Lease will be assumed pursuant to
                                                                                                 11 U.S.C. § 365(p)(2):
                                                                                                    Yes     No
   1 continuation sheets attached (if any)
I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.

Date:       September 23, 2015                    /s/ Louis John Giacchi
                                                  Signature of Debtor
                                                  /s/ Janice Ellen Giacchi
                                                  Signature of Joint Debtor


        Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                           Desc
                            Schedules and Statements Page 35 of 42
B8 (Official Form 8) (12/08)

                               CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                  (Continuation Sheet)

PART A – Continuation
 Property No. 3
 Creditor’s Name:                                                   Describe Property Securing Debt:
 Wells Fargo Bank Nv Na                                             Residential Dwelling Located at
 Property will be (check one):
     Surrendered       Retained
 If retaining the property, I intend to (check at least one):
       Redeem the property
       Reaffirm the debt
       Other. Explain                                                           (for example, avoid lien using 11 U.S.C. § 522(f)).
 Property is (check one):
     Claimed as exempt            Not claimed as exempt

 Property No.
 Creditor’s Name:                                                   Describe Property Securing Debt:

 Property will be (check one):
     Surrendered       Retained
 If retaining the property, I intend to (check at least one):
       Redeem the property
       Reaffirm the debt
       Other. Explain                                                           (for example, avoid lien using 11 U.S.C. § 522(f)).
 Property is (check one):
     Claimed as exempt            Not claimed as exempt

 Property No.
 Creditor’s Name:                                                   Describe Property Securing Debt:

 Property will be (check one):
     Surrendered       Retained
 If retaining the property, I intend to (check at least one):
       Redeem the property
       Reaffirm the debt
       Other. Explain                                                           (for example, avoid lien using 11 U.S.C. § 522(f)).
 Property is (check one):
     Claimed as exempt            Not claimed as exempt


PART B – Continuation
 Property No.
 Lessor’s Name:                                    Describe Leased Property:                 Lease will be assumed pursuant to
                                                                                             11 U.S.C. § 365(p)(2):
                                                                                                Yes     No

 Property No.
 Lessor’s Name:                                    Describe Leased Property:                 Lease will be assumed pursuant to
                                                                                             11 U.S.C. § 365(p)(2):
                                                                                                Yes     No
Continuation sheet        1 of    1


        Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                       Desc
                            Schedules and Statements Page 36 of 42
                                               United States Bankruptcy Court
                                               Middle District of Pennsylvania

IN RE:                                                                                  Case No.
Giacchi, Louis John & Giacchi, Janice Ellen                                             Chapter 7
                                        Debtor(s)

                                       VERIFICATION OF CREDITOR MATRIX
The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



Date: September 23, 2015               Signature: /s/ Louis John Giacchi
                                                    Louis John Giacchi                                                      Debtor



Date: September 23, 2015               Signature: /s/ Janice Ellen Giacchi
                                                    Janice Ellen Giacchi                                        Joint Debtor, if any




       Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                     Desc
                           Schedules and Statements Page 37 of 42
Giacchi, Louis John               Capital One Bank (USA) N.A.          Juniper MC
502 Scenic Drive East             P.O. Box 71083                       P.O. Box 8826
Albrightsville, PA 18210          Charlotte, NC 28272-1083             Wilmington, DE 19899-8826




Giacchi, Janice Ellen             Capital One Bank Usa N               Kohls/capone
502 Scenic Drive East             Pob 30281                            N56 W 17000 Ridgewood Dr
Albrightsville, PA 18210          Salt Lake City, UT 84130             Menomonee Falls, WI 53051




Anders, Riegel & Masington, LLC   Chase Card                           Kost Tire & Auto Service
18 North 8th Street               Po Box 15298                         P.O. Box 81410
Stroudsburg, PA 18360-0000        Wilmington, DE 19850                 Cleveland, OH 44181




Aes/nct                           Computer Credit Inc.                 Monroe County Tax Claim Bureau
Po Box 61047                      Claim Dept. 003755                   One Quaker Plaza, Suite 104
Harrisburg, PA 17106              640 West Fourth St., P.O. Box 5238   Stroudsburg, PA 18360
                                  Winston-Salem, NC 27113-5238



Americollect Inc                  Credit First N A                     NCO Financial Systems
1851 S Alverno Rd                 6275 Eastland Rd                     507 Prudential Road
Manitowoc, WI 54220               Brookpark, OH 44142                  Horsham, PA 19044




Amex                              Discover Fin Svcs Llc                Peak Management
Po Box 297871                     Po Box 15316                         O/B/O Satir Hill Apartments
Fort Lauderdale, FL 33329         Wilmington, DE 19850                 1 Spindrift Circle
                                                                       Parkville, MD 21234



ANES Spec. Bethlehem P.C.         Exxmblciti                           Peerless Credit Services Inc.
P.O. Box 64500                    Po Box 6497                          P.O. Box 518
Souderton, PA 18964               Sioux Falls, SD 57117                Middletown, PA 17057




Barclays Bank Delaware            Family Care Centers Inc.             Penn Credit Corp
P.o. Box 8803                     P.O. Box 827658                      916 South 14th Street
Wilmington, DE 19899              Philadelphia, PA 19182-7658          Harrisburg, PA 17104




Blue Ridge Communications         Fed Loan Serv                        Pinnacle Mid-Atlantic ANES/PA
P.O. Box 316                      Po Box 60610                         P.O. Box 650782
Palmerton, PA 18071               Harrisburg, PA 17106                 Dallas, TX 75265-0782




Capital Management Services LP    Jaffe & Asher LLP                    Pocono Emergency Physicians
698 1/2 South Ogden Street        11 East Market Street, Suite102      P.O. Box 827658
Buffalo, NY 14206-2317            York, PA 17401                       Philadelphia, PA 19182




          Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                 Desc
                              Schedules and Statements Page 38 of 42
Pocono Imaging Partner LLP            Syncb/plcc
P.O. Box 60                           Po Box 965024
East Stroudsburg, PA 18301-9629       Orlando, FL 32896




Pocono Medical Center                 Thd/cbna
P.O Box 822009                        Po Box 6497
Philadelphia, PA 19182                Sioux Falls, SD 57117




Powell, Rogers & Speaks, Inc.         United Recovery Systems LP
P.O. Box 930                          5800 North Course Drive
Halifax, PA 17032                     Houston, TX 77072




Progressive Physician Associates      Urology Associates Of The Poconos Inc.
3735 Nazareth Rd # 206                422 Normal Street
Nazareth, PA 18045                    East Stroudsburg, PA 18301




Prudential Insurance Co. Of America   Viking Client Services
751 Broad Street                      7500 Office Ridge Circle
Newark, NJ 07102                      Eden Prairie, MN 55344




Springleaf                            Wells Fargo Bank
Po Box 9068                           Po Box 14517
Brandon, FL 33508                     Des Moines, IA 50306




St. Lukes Physicians Group            Wells Fargo Bank Nv Na
P.O. Box 5386                         Po Box 31557
Bethlehem, PA 18015-0386              Billings, MT 59107




St. Lukes University Health Network   Wf Crd Svc
Dept 21784                            Po Box 14517
P.O. Box 1259                         Des Moines, IA 50306
Oaks, PA 19456



Suburban Propane
P.O. Box J
Whippany, NJ 07981




Syncb/lowes
Po Box 965005
Orlando, FL 32896




          Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42   Desc
                              Schedules and Statements Page 39 of 42
                                                                                        United States Bankruptcy Court
                                                                                        Middle District of Pennsylvania

IN RE:                                                                                                                                                                     Case No.
Giacchi, Louis John & Giacchi, Janice Ellen                                                                                                                                Chapter 7
                                                                             Debtor(s)

                                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that compensation paid to me within
       one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
       of or in connection with the bankruptcy case is as follows:

       For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                  1,200.00

       Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                      1,200.00

       Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $

2.     The source of the compensation paid to me was:                                 Debtor             Other (specify):

3.     The source of compensation to be paid to me is:                                Debtor             Other (specify):

4.            I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
              together with a list of the names of the people sharing in the compensation, is attached.

5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.     [Other provisions as needed]




6.     By agreement with the debtor(s), the above disclosed fee does not include the following services:




                                                                                                               CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
     proceeding.


                          September 23, 2015                                                  /s/ Patrick J. Best, Esquire
                                          Date                                                Patrick J. Best, Esquire 309732
                                                                                              Anders, Riegel & Masington, LLC
                                                                                              18 North 8th Street
                                                                                              Stroudsburg, PA 18360-0000
                                                                                              (570) 424-1117 Fax: (570) 424-2814
                                                                                              patrick@armlawyers.com




             Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                                                                                                                       Desc
                                 Schedules and Statements Page 40 of 42
FB 201A (Form 201A) (06/14)


                                    UNITED STATES BANKRUPTCY COURT

                              NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                       OF THE BANKRUPTCY CODE

         In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
statement with the court requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies

        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted
by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your




       Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                    Desc
                           Schedules and Statements Page 41 of 42
Form B 201A, Notice to Consumer Debtor(s)                                                                                     Page 2

discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose
from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine
that the debt is not discharged.

         Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$75 administrative fee: Total fee $310)
         Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
set forth in the Bankruptcy Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
depending upon your income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
secured obligations.

         Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
         Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with
an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

         A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding
your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
Bankruptcy Rules, and the local rules of the court. The documents and the deadlines for filing them are listed on Form
B200, which is posted at http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




       Case 5:15-bk-04073-RNO Doc 1-1 Filed 09/23/15 Entered 09/23/15 10:36:42                                     Desc
                           Schedules and Statements Page 42 of 42
